Case 1:19-cv-00487-JMS-KJM Document 18 Filed 11/25/19 Page 1 of 2         PageID #: 137




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  Attorney for Plaintiff
  HB Productions, Inc.

                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   HB Productions, Inc.,                   )   Case No.: 1:19-cv-487-JMS-KJM
                                           )   (Copyright)
                     Plaintiff,            )
      vs.                                  )   RULE 55(a) REQUEST FOR CLERK
                                           )   TO ENTER DEFAULT AGAINST
   Muhammad Faizan, et al.,                )   DEFENDANT MUHAMMAD
                                           )   FAIZAN; DECLARATION OF
                     Defendants.           )   COUNSEL; CERTIFICATE OF
                                           )   SERVICE
                                           )
                                           )
                                           )

                REQUEST FOR CLERK TO ENTER DEFAULT AGAINST
                    DEFENDANT MUHAMMAD FAIZAN


  TO: CLERK OF THE ABOVE-ENTITLED COURT:

        Pursuant to Fed R. Civ. P. 55(a), Plaintiff HB Productions, Inc. (“Plaintiff”)

  hereby applies for entry of default by the Clerk of the Court against Defendant

  Muhammad Faizan. Defendant Muhammad Faizan was personally served a copy of


  20-018B 19-487
Case 1:19-cv-00487-JMS-KJM Document 18 Filed 11/25/19 Page 2 of 2         PageID #: 138




  the Complaint, Summons and Scheduling Order on October 4, 2019. See Proof of

  Service [Doc. #14]; see also Supplemental Declaration of Muhammad Waqar [Doc.

  #21-2]. Service was performed in accordance with the Hague Service Convention

  and the internal law or rule in Pakistan. See Affidavit of Muhammad Abeed Atiff

  [Doc. #14-1].

        Defendant Muhammad Faizan’s responsive pleading was due on or before

  October 25, 2019. Defendant Muhammad Faizan has failed to appear or otherwise

  defend.

        For these reasons, Plaintiff request that the Clerk of the Court enter default

  judgment on all claims plead in the Complaint with regards to Defendant

  Muhammad Faizan.

        DATED: Kailua-Kona, Hawaii, November 25, 2019.



                                 CULPEPPER IP, LLLC


                                 /s/ Kerry S. Culpepper
                                 Kerry S. Culpepper

                                 Attorney for Plaintiff




  20-018B 19-487
